                                                                                E-FILED
                                              Thursday, 05 November, 2020 03:45:13 PM
                                                           Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                Plaintiff,             )
                                       )
     v.                                ) Case No. 17-cr-30033
                                       )
JEFFERY NELSON,                        )
                                       )
                Defendant.             )

                                OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Defendant Jeffery Nelson’s second pro se

motion (d/e 65) and amended motion (d/e 69) for compassionate

release requesting a reduction in his term of imprisonment

pursuant to 18 U.S.C. § 3582(c)(1)(A). For the reasons set forth

below, the motions are DENIED.

                             I. BACKGROUND

     On October 24, 2017, Defendant Jeffery Nelson plead guilty to

distribution of 28 grams or more of cocaine base in violation of 21

U.S.C. 841(a)(1) and (b)(1)(B)(iii). On April 9, 2018, Defendant was

sentenced to 120 months’ imprisonment and an 8-year term of

supervised released. Defendant is currently serving his sentencing


                               Page 1 of 7
at FCI Greenville. He has a projected release date of December 3,

2025.

     On September 9, 2020, Defendant filed a pro se motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A) seeking

compassionate release due to his health issues and the COVID-19

pandemic. See d/e 62. On September 10, 2020, this Court denied

Defendant’s motion for compassionate release because Defendant

did not provide the Court with any specific details or evidence

proving that he has comorbidities that would increase his risk of

serious illness or death if he contracts COVID-19. See Text Order

dated 9/10/2020. Additionally, Defendant did not submit a

proposed release plan. Id.

     On September 23, 2020, Defendant filed a second pro se

motion for compassionate release pursuant to 18 U.S.C. §

3582(c)(1)(A) seeking compassionate release due to COVID-19 being

present at FCI Greenville and the fact that he is obese and

prediabetic. See d/e 65. On October 16, 2020, following the

appointment of counsel to represent Defendant, an amended

second motion for compassionate release was filed. See d/e 69. On

October 21, 2020, the Government filed a response opposing


                             Page 2 of 7
Defendant’s motion. See d/e 70. The Government argues that

Defendant has not established extraordinary and compelling

reasons to warrant a reduction.

                           II. ANALYSIS

     As a general matter, the Court is statutorily prohibited from

modifying a term of imprisonment once it has been imposed. See

18 U.S.C. § 3582(c). However, several statutory exceptions exist,

one of which allows the Court to grant a defendant compassionate

release if certain requirements are met. See 18 U.S.C. §

3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory

language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the

Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now

allows an inmate to file with the Court a motion for compassionate

release, but only after exhausting administrative review of a BOP

denial of the inmate’s request for BOP to file a motion or waiting 30

days from when the inmate made his or her request, whichever is


                             Page 3 of 7
earlier. The statute now provides as follows:

     The court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights to
     appeal a failure of the Bureau of Prisons to bring a
     motion on the defendant’s behalf or the lapse of 30 days
     from the receipt of such a request by the warden of the
     defendant’s facility, whichever is earlier, may reduce the
     term of imprisonment (and may impose a term of
     probation or supervised release with or without
     conditions that does not exceed the unserved portion of
     the original term of imprisonment), after considering the
     factors set forth in section 3553(a) to the extent that they
     are applicable, if it finds that—

     (i) extraordinary and compelling reasons warrant such a
     reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

     In this case, Defendant submitted a compassionate release

request to the warden of FCI Greenville and his request was denied

by the warden on July 5, 2020. See Amended Motion, d/e 69, p. 2.

The Government does not dispute this. See Response, d/e 70. The

Court therefore finds that Defendant has met the 30-day

requirement found in 18 U.S.C. § 3582(c)(1)(A).

     The Court must next consider whether “extraordinary and

compelling reasons warrant such a reduction” and is “consistent



                             Page 4 of 7
with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1)(A).

     The spread of COVID-19 has presented extraordinary and

unprecedented challenges for the country and poses a serious issue

for prisons. Due to the infectious nature of the virus, the Centers

for Disease Control and Prevention (CDC) and state governments

have advised individuals to practice good hygiene and social

distancing and isolation. Social distancing can be difficult for

individuals living or working in a prison.

     FCI Greenville has 23 inmates and 12 staff members who

actively have COVID-19. See COVID-19 Cases, Federal Bureau of

Prisons, https://www.bop.gov/coronavirus/ (last accessed

November 4, 2020). However, the facility has made strides in

combating the disease as 274 inmates and 26 staff members have

recovered from COVID-19. Id.

     Defendant is a 40-year-old male who is prediabetic and is

obese as he has a BMI of 33. See d/e 69, p. 3. Being obese places

Defendant at a higher risk of medical issues if he contracts COVID-

19. See People at Any Age with Underlying Medical Conditions,

CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-


                             Page 5 of 7
precautions/people-with-medical-conditions.html (last accessed

November 4, 2020) (“People of any age with the following conditions

are at increased risk of severe illness from COVID-19:…Obesity

(body mass index [BMI] of 30 or higher)….”). Defendant argues that

prediabetes also places him at a higher risk of serious illness or

death if he contracts COVID-19. However, the CDC has not listed

prediabetes as a condition that increases or might increase the risk.

See People at Any Age with Underlying Medical Conditions, CDC,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last accessed

November 4, 2020) (discussing conditions that place an individual

“at increased risk” and other conditions that “might be [] an

increased risk.”).

     While the Court is sympathetic to Defendant’s medical

conditions, the Court is concerned that Defendant remains a risk to

the community. The Court must reconsider the factors in

§ 3553(a). Defendant has only served 39% of his statutory sentence

and has over five years remaining on his sentence as he has a

projected release date of December 3, 2025. The Bureau of Prisons

has assessed Defendant as a high risk to reoffend. See d/e 70, p.


                             Page 6 of 7
11. Additionally, the U.S. Probation Office does not find

Defendant’s proposed release plan suitable. See d/e 68, p. 2.

     Based on the history and characteristics of Defendant and the

nature and circumstances of the offense, the Court finds that

reconsideration of the factors in § 3553(a) concludes that Defendant

is not entitled to compassionate release.

                         III. CONCLUSION

     For the reasons set forth above, Defendant Jeffery Nelson’s

second pro se motion (d/e 65) and amended motion for

compassionate release (d/e 69) are DENIED. The Clerk is

DIRECTED to send a copy of this Opinion to FCI Greenville.

ENTER: November 5, 2020.

                                s/ Sue E. Myerscough
                                SUE E. MYERSCOUGH
                                UNITED STATES DISTRICT JUDGE




                             Page 7 of 7
